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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION


UNITED STATES OF AMERICA

      vs.                  CASE NO. 4:11cr00208-29 JMM

TREMAINE SIMON, USM #26565-009
a/k/a Kocaine Krazy
a/k/a SS Boy




                      AMENDED JUDGMENT & COMMITMENT


      Due to a clerical error, page one of the judgment (DE #618) is amended to reflect

the correct Offense Ended date as October 31, 2011.

      The remaining portions of the Judgment will remain in full force and effect.

      The Clerk is directed to provide a copy of this order to the United States Probation

Office and the United States Marshals Office.

      IT IS SO ORDERED this 22nd day of August, 2012.



                                         UNITED STATES DISTRICT JUDGE
